                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

BRIT UW LIMITED,                                     §
                                                     §
        Plaintiff,                                   §
                                                     §
v.                                                   §                    1:19-CV-116-RP
                                                     §
MONTECILLO MASONRY, INC., et al.,                    §
                                                     §
        Defendants.                                  §

                                                ORDER

        On June 14, 2024, Plaintiff Brit UW Limited and Defendants Engineered Structures, Inc.

and Jubilee Academic Center, Inc. filed an agreed motion to dismiss, stating that the parties have

resolved their dispute and have agreed to dismiss the claims in this case with prejudice. (Dkt. 46).

The parties also agreed to dismiss the claims against Defendant Montecillo Masonry, Inc., which did

not appear in this matter. The Court construes the parties’ motion as a joint stipulation of dismissal

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). “Stipulated dismissals under Rule

41(a)(1)(A)(ii) . . . require no judicial action or approval and are effective automatically upon filing.”

Yesh Music v. Lakewood Church, 727 F.3d 356, 362 (5th Cir. 2013).

        Accordingly, IT IS ORDERED that the parties’ agreed motion to dismiss, (Dkt. 46), is

GRANTED. As nothing remains to resolve, IT IS FURTHER ORDERED that the case is

CLOSED.

        SIGNED on June 17, 2024.




                                                 ROBERT PITMAN
                                                 UNITED STATES DISTRICT JUDGE
